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\AO 98 (Re~v. 12/03) Appearance Bond ~ '

.UNITEI) STATES DISTRICT COURT
for the v District_ of New Jersev

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UNITED sTATEs oFAMERICA- ~ WZ w @ 0 25 g

        
  

 

V. .
Danuy Saig . :: q` a imLuM;}IRQM` '
Defendant '

 
 

Case - 12-6655

JUL - 2 2012! |\)
"‘F»a:t?_ - or c+.u_ng:_ai

 

    

Non-surety: I, the undersigned defendant acknowledge that l and my`. . . .
Surety: We, the undersigned, jointly and severally acknowledge that we and our . . .
personal representatives, jointly and severally, are bound to pay to the United States of Ameriea the sum of

 

s 50 \,Q>OC> .,*andth»réws.hemdepssnaa@§_n/egaeryamveumof

 

 

 

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$ \\ ' _......_-\ ' 'ljr¢a/S[l`\ /`/\»-Mb other
The conditions of this bond are that the n ____________Dann!.§aig_________,________

. (Name) ‘ '
is to'appear before this court and at such other places as the defendant may be required to appear, in accordance with any
and all orders and directions relating to the defendant’s appearance in this case, including appearance for violation of a
condition of defendant’s release as may be ordered or notified by this court or any other United States District Court to which
the defendant may be held to answer or the cause transferred. The defendant is to abide by any judgment entered in such
matter by surrendering to serve any sentence imposed and obeying any order or direction in connection with such judgment.

Itis agreed and understood that this is -a continuing bond (including any proceeding on appeal or revicw) which shall
continue until such time as the undersigned are exonerated. ' 1

If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
bond, then this bond is to be void, but if the defendant fails to obey or perform any of these conditions, payment of the
amount of this bond shall be due forthwith. Forfeiture of this bond for any breach of its conditions may be declared by any
United States District Court having cognizance of theabove entitled matter at the time of such breach and if the bond is
forfeited and if the forfeiture is not set aside or remitted, judgment, may be entered upon motion in such United States
Distri_ct Court against each debtor jointly and severally for the amount above stated, together with interest and costs, and
execution may be issued and payment secured as provided by the F_ederal Rules of Criminai Procedure and any other laws
of the United States. ' . - '

 

 

 

Thisbonaissigned'o / mm a at 4 ‘ . menack..NJ______' d
f DB¢¢` _ 4 Place `
Defen`dant ‘ ' Address _Ce.,~ /7 /»Q@. (_é)`
mmm._\&e&\¢.~ '

 

Addres%<._l@j 5 - L~A QQ_€)( told

Address P€V'O(`{/s/ |"'l l` H_S .C./Q %0_2/'
` ' 7/2/12_ ' - _ '

AC@\`MW?\\`R\O

. g a *‘ ' _'J..dl@y\
Approved: _ ‘ '

J\¢\'\ '¢‘\a.n;\,oz.o~.
Surety ' » ` `

 

Signed and acknowledged before me
Date»

 

 

 

 

444 .____-n_,».__t_n_i__,

 

 

 

 

 

 

 

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UNITED STATES DISTRICT CoUR'r _
for the ' District of ' ‘ New ,lersey

' c
l

United States of America ` . ` »
' ORDER SETTING CONDITIONS

V. OF R_ELEASE
Danny Saig -
l ~ Case Number: 12-6655

 

Defendant

I_T IS ORDERED on this _2__ day of ngy , 2012 that the release of the defendant is subject to the following
conditions: . ' - '
( l)` The defendant must not violate any federal, state or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
42 U,S.C. § 14135a. ' ' ' t `
(3) The defendant must immediately advise the court, defense counscl, and the U.S. attorney in writing before
any change in address and/or telephone number. ' 4
(4) The defendant must appear in court as required and must surrender _to serve any sentence imposed.

Relea`se on Bond

Bail be fixed at $ §§ qQ>Q> CD y and the defendant shall be released upon:

Executing an unsecured appearance bond (><) with co-sigxior(s) Ac\'\ “\\o<\éan LC»\\'

( ) Executing a secured appearance bond ( ) with co-signor(s) . ' ' --
and,( ) depositing in cash in the registry of the Court _;____% of the bail iixed; and/or( ) execute an
agreement to forfeit designated property located at - »
Local Criminal Rule.46,l(d)(3) waived/not waived‘by the Court.

( ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail

` in lieu thereof; ' . , ~ - . `

 

Additional Condltions of Release

Uponv finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persth and the community, it is further ordered that the release of the defendant is

5 ' subject to the condition(s) listed below:

iT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed: _
(` /) _Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
enforcement personnel, including but not limited to, any-arrest, questioning or traffic stop.
( ) The defendant shall not attempt to intluence, intimidate, or injure any juror or judicial ofticer; not tamper
with any witness, victim, or informant; not retaliate against any witness, victim or informant in this .case.
`( ) The defendant shall be released into the third party custody of '

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every ep"brt '
to assure the appearance of the defendant at all scheduled court proceedings and (c) to notify the court
immediately in the event the defendant violates any conditions of release or disappears `

 

Custodian Signature: ' Date:

 

 

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' /t>¢ ‘l'ne detendant’s travel is restricted to(><j New'Jersey P<) Other bid . 556 Wi

' ' ' l ` unless approved by Pretrial Services (PTS).
__`(><) Surrender all passports and travel documents to PTS. Do not apply for new travel documents. ..

( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with

substance abuse testing procedures/equipment ~ - '

( ) Reii'ain from possessing a iirearm, destructive device, or other dangerous weapons. All firearms in any

l home in which the defendant resides shall be removed by and veritication provided to PTS.
Mental health testing/treatment as directed by PTS.
Abstain from the use of alcohol. .
Maintain current residence or a residence approved by PTS. »
Maintain or actively seek employment and/or commence an education program. . . 4
No contact with minors unless in the presence of a parent or guardian who is aware of the present offense
Have no contact with the following individuals: ` ’ `
Defendant is to participate in one of the following home confinement program components and abide by
‘ all the requirements ofthe program which ( ) will or( ) will not include electronic monitoring or other
location verification system. You,shall pay all or part of the cost ofth_e program based upon your ability to
`pay as determined by the pretrial services office or supervising officer. _
( ) (i) . Curfew. You are restricted to your residence every day'( ) from to
. ( ) as directed by the pretrial services office or supervising ofticer;` or
( ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
' education; religious services; medical, substance abuse, or mental health treatrnent;
attorney visits; court appearances; court-ordered obligations; or other activities pre-
approve_d by the pretrial services office or supervising officer. Additionally, employment
( ) is permitted ( ) is not permitted. _ ' ' _ - ` '

( ) (iii) Home Incarceration. You are restricted to your residence under 24 hour lock~down except
for medical necessities and court appearances, or other activities specifically approved by
the court. ' . z ~

( . ) Defendant is subject to the following computer/internat restrictions lwhich may include manual
inspection and/or the installation of computer monitoring software, as deemed appropriate by
§ _ Pretrial Services. The defendant shall pay all or part of the cost of the monitoring software based ~
§ upon their ability to pay, as determined by the pretrial services office or supervising ofticer.
l ( ) (i) No Computers - defendant is prohibited li'om possession and/or use of computers or

 

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V\/v

,or

 

 

§ connected devices. '

( ) (ii) Computer - No Interne't Acccss: defendant is permitted use of computers or connected

§ v . _ devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC

t Servers, Instant Messaging, etc); . .
§ ' ' ( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected
§ ` devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
Instant Messaging, etc.) for legitimate and necessary purposes pre~apprcved by Pretrial
’ Services at [ ]home[ ] for employmentpurposes. ' . b
( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in / v
the home utilized by other residents shall be approved by Pretrial Services, password _ -
protected by a third party custodian approved by Pretrial Services, and subject to inspection
for compliance by Pretrial Services, '

 

 

  

 

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t a " ‘ --5 ' ADVICE OF PENALTIES AND SANCTI()NS

To THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:_ §
Violating any of the foregoing conditions of release may result in the immediate issuance of a wan _
1 for your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt
§ of court and could result in imprisonment, a fine, or both. v ' ` .

While on release, if you commit a federal felony offense the punishment is an additional prison term of` not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year.
This sentence will be consecutive (i.e.j in addition to) to any other sentence you receive § '

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering retaliation, or intimidation are significantly more serious if they involve a killing-or attempted killing

_ lf, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing toappear or surrender and additional punishment may be imposed. If you are
convicted of: ~ ' 1

(1) an offense punishable by death, life imprisonment or imprisonment for a term of fifteen years or more
- you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more,_but less than fifteen years - you

` will be fined not more than $250,000 or imprisoned for not more than five years, or both; _
' (3)~ any other felony-' you will be fined not more than $250,000 or imprisoned not more than two years, c

both; _ '. . ' . .

(4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or
both. ` '

A tenn of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence

you receive. ln addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

 

 

 

 

` Acknowledgment of the _Defendant

I acknowledge thatI am the defendant in this case and that lam aware of the conditions of release, I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sent e imposed. I am aware of the
penalties and sanctions set forth above. ' §

 

Defendant ’s Signature

 

 

/~>><>M"§ /({¢ é.l § . §
Ci[v and State ' ' §

Directions to the United States Marsiral

/Sd The defendant is ORDERED released after pro cessing. v `
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge L
that the defendant has posted bond and/or complied with all other conditions for release, If still in custody, the
defendant must be produced before the appropriate judge at the time and place specihed. ` ` .

Date: 112/12 § ' _4
, 4 § ` ‘ J dicial Ojji`cer's Signatu`re ' g

§ s hA D'ckso .M ' trate .Tu 4 - § §
'Printed name and title _ ‘ ~

‘(Rrv. 3/10)' ~ ‘ ` ' v manson '

 

 

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TRANSMISSION OK

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TIME USE

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. To: Nadine Ma_uro

Féx- number: _9_73-645-454`9'.

 

 

 

From:' Nune` Gevo_rky`an`

lFax number: 213-894.-2022

 

Date: 7/2/2012 . Pages: 7'-l'- cover

 

 

united series mscri_rcr conn
Central'District of C_a|ifdmla

Regarding: _
Da."'.\v. Sa'.g tB<’>"f¢>

 

lwestrem olv`lswi\
Los Angeles, CA 9001_2,
(213) 094-usa phone / (213) 394~2022 Fax

 

'Ph'one number for follow-up:

213-894-3288

 

Comments:

`Thank you,

Nune -Gevorl<yan'
Criminal Intake C|erk '

 

As per your instructions, attached ls the b'on'd signed by surety 'Adl Mendoaa along_ '

with copy of her.ID. The origlnals have`b"een placed in the mal|.

…,__...____.._____T__.~_,,_..______.. . __ .i

 

 

 

_ .i… ..r...-_.r..__.._.~..

Case 2:12-cm-00242-UA Document 1 Filed 07/02/12 Page 6 of 7 Page |D #:6

 

 

To: Nadine Mauro
Fax number: 973-645-4549

 

 

From: Nune Gevorkyan
Fax number: 213-894~2022

 

Date: 7/2/2012 Pages: 7 + cover

 

 

Un|ted States Dlsctrict Cour`t
Centra| D|strlct of Ca|ifcrnla

Regarding:
Danny Saig (Bond)

 

Western Division
Los Angeles, CA 90012
(213) 894~8288 Phone / (213) 894-2022 Fax

 

Phone number for follow-up:
213-894-8288

 

 

COmmentS:

As per your instructions, attached is the bond signed by surety Adi Mendoza along
with copy of her ID. The originals have been placed in the mai|.

Thank you,

Nune Gevorkyan
Crimina| Intake C|erk

 

 

 

 

 

 

 

 

 

n Lt,.._~__._.n

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‘ .

UNITED STATES DISTRICT'COURT_

DISTRICT OF NEW JERSEY
Chambers Of . Martin Luther King Ir. '
Joseph A. Dickson - Federal Courthouse
United States Magistrate Judge ` ‘ § 50 Walnut Street
` ' ' ’ Newark, NJ 07101

Fax #973-645-4549. .

 

FAX COVER SHEET '

 

Name: Criminal Intake

Organ`ization: ' USDC, Central District of CA

Fax#: ’ ' 213-894-2022
From: . ~ . USDC, District ofNew Jersey
Date:_ 7/2/12 `

Subject: Signing of Appearance Bond for Deit. Danny Saig

Pages: ` 5 ‘ n (including cover sheet)

Comments: '

. Please have Adi Mendoza sign the appearance bond as a surety where indicated,
and fax a copy back to me at 973-645-4549. Please mail the original back to me at the above '
address. Thank you. ‘ ' ~

Nadine Mauro
Courtroom Deputy

 

 

